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 6                        IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8
 9   David Smith,                                     No. CV 21-00322-TUC-SHR
10                         Plaintiff,
11   v.                                               ORDER FOR PAYMENT
12   Edna Lara, et al.,                               OF INMATE FILING FEE
13                         Defendants.
14
15   TO: THE WARDEN OF THE UNITED STATES PENITENTIARY-TUCSON
16          Plaintiff David Smith, inmate #07954-043, who is confined in the United States
17   Penitentiary-Tucson, must pay the statutory filing fee of $350.00. Plaintiff is not assessed
18   an initial partial filing fee. Plaintiff must pay the filing fee in monthly payments of 20%
19   of the preceding month’s income credited to Plaintiff’s trust account. The Warden of the
20   United States Penitentiary-Tucson or his/her designee must collect and forward these
21   payments to the Clerk of Court each time the amount in the account exceeds $10.00.
22   IT IS ORDERED:
23          (1)    The Warden of the United States Penitentiary-Tucson or his/her designee
24   must collect the $350.00 filing fee from Plaintiff’s trust account in monthly payments of
25   20% of the preceding month’s income credited to the account.            Payments must be
26   forwarded to the Clerk of Court each time the amount in the account exceeds $10.00. The
27   payments must be clearly identified by the name and number assigned to this action.
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 1          (2)    The Warden of the United States Penitentiary-Tucson or his/her designee
 2   must notify the Clerk of Court in writing when Plaintiff is released or transferred to a
 3   correctional institution other than the United States Penitentiary-Tucson, so new billing
 4   arrangements may be made to collect any outstanding balance.
 5          (3)    The Clerk of Court must serve by mail a copy of this Order on the Warden
 6   of the United States Penitentiary-Tucson, U.S. Penitentiary, 9300 South Wilmot Road,
 7   Tucson, Arizona 85706.
 8          (4)    The Clerk of Court must forward a copy of this Order to Financial
 9   Administration for the Tucson Division of the United States District Court for the District
10   of Arizona. Financial Administration must set up an account to receive payments on the
11   filing fee for this action and must notify the Court when the filing fee is paid in full.
12          Dated this 8th day of October, 2021.
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